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               United States Court of Appeals
                              For the First Circuit

 No. 14-1450

                                  MARK DUTKEWYCH,

                                   Plaintiff – Appellant,

                                             v.

                          STANDARD INSURANCE COMPANY,

                                   Defendant - Appellee

                    MINTZ LEVIN COHN FERRIS GLOVSKY & POPEO
                      PC GROUP LONG TERM DISABILITY PLAN,

                                        Defendant.


                                       MANDATE

                                   Entered: April 9, 2015

        In accordance with the judgment of March 18, 2015, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                           By the Court:

                                           /s/ Margaret Carter, Clerk

 cc:
 Ronald M. LaRocca
 Brooks R. Magratten
 Mala M. Rafik
 M. Katherine Sullivan
